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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OKLAHOMA

   JOHN JOHNSON,
                                       Plaintiff,
   vs.                                                     Case No.10-CV-460-JHP-FHM
   OLD REPUBLIC INSURANCE
   COMPANY,
                                       Defendants.

                                          OPINION AND ORDER

         Plaintiff’s Motion to Compel, [Dkt. 55], is before the undersigned United States

  Magistrate Judge for decision.

         Defendant withheld a number of documents from production and submitted a

  privilege log identifying the documents withheld. Defendant claimed attorney-client and

  work product privilege, proprietary information, product protection, and personal or

  confidential information of non-parties as the basis for withholding production. Plaintiff’s

  motion seeks an order compelling production of the entire unredacted files maintained by

  and for Old Republic and ESIS relating to Plaintiff’s insurance claim at issue in this

  litigation. After Plaintiff’s motion was filed, Defendant made a supplemental production that

  included some, but not all, of the withheld documents.

         Defendant asserts that Plaintiff’s motion should be denied because Plaintiff’s

  counsel failed to comply with the meet and confer requirements of LCvR 37.1.1 In reply

         1
             Local C ivil R ule 37.1 requires an inform al conference to settle discovery disputes:
                   W ith respect to all m otions or objections relating to discovery pursuant to
                   Fed.R .C iv.P. 26 through 37 and 45, this Court shall refuse to hear any
                   such m otion or objection unless counsel for m ovant first advises the
                   C ourt in w riting that counsel personally have m et and conferred in good
                   faith and, after a sincere attem pt to resolve differences, have been
                   unable to reach an accord. H ow ever, no personal conference shall be
                                                                                                 (continued...)
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  Plaintiff’s counsel claims that LCvR 37.1 was satisfied because counsel spoke on more

  than one occasion and Defendant would not produce the documents. [Dkt. 60, pp. 2-3].

         Defendant’s response brief contains a letter dated February 24, 2012, from

  Defendant’s counsel to Plaintiff’s counsel, which asked Plaintiff’s counsel to specify which

  documents were objected to and stating that with that information the parties could sit

  down and discuss the dispute. [Dkt. 56-2]. Defendant states that Plaintiff did not respond

  to the letter. [Dkt. 56, p. 4 n1]. Plaintiff’s counsel did not deny that contention in the reply

  brief, but argued that Defendant’s suggestion that Plaintiff failed to confer is

  “disingenuous.” [Dkt. 60, p. 3].

         The Court finds that Plaintiff’s counsel did not comply with the letter or the spirit

  of Fed.R.Civ.P. 37(a)(1)2 or LCvR 37.1. Counsel both office in Tulsa, further their

  offices are just over a mile in distance apart. Therefore distance between counsel does

  not present a reason under LCvR 37.1 for the failure of counsel to personally meet.

  Further, when a sincere attempt to resolve discovery differences has been made, there

  is no question between the parties as to whether the meet and confer requirement has

  been met.


         1
             (...continued)
                     required w here the m ovant’s counsel represents to the C ourt in w riting
                     that m ovant’s counsel has conferred with opposing counsel by telephone
                     and (1) the m otion or objection arises from failure to tim ely m ake a
                     discovery response, or (2) distance betw een counsels’ offices renders a
                     personal conference infeasible. W hen the locations of counsels’ offices,
                     w hich w ill be stated w ith particularity by m ovant, are in the sam e city or
                     w ithin thirty (30) m iles of each other, a personal conference is alw ays
                     deem ed feasible as to distance.

         2
              Federal R ule of Civil Procedure 37(a)(1) provides that a m otion to com pel discovery:
                   m ust include a certification that the m ovant has in good faith conferred
                   or attem pted to confer w ith the person or party failing to m ake disclosure
                   or discovery in an effort to obtain it w ithout court action.

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         One purpose of the meet and confer requirement is to promote discussion of

  specific issues and the exchange of additional information. Even if the meet and confer

  process does not resolve the discovery issues, it inevitably narrows the issues and focuses

  the parties arguments on the specific matter at issue in a discovery motion. Where, as

  here, no meet and confer takes place, the arguments are so generalized that the briefs are

  unhelpful to the process of solving the dispute. By way of example, Plaintiff states he

  “does not know why approximately 175 pages of undated insurance policy are contained

  within his claim file.” [Dkt. 60, p. 5]. Had Plaintiff’s counsel met with Defendant’s counsel

  in good faith and made a sincere attempt to resolve the discovery differences, Plaintiff

  would have the answer to that question. A meet and confer would have also provided the

  opportunity to get the answers to other questions Plaintiff posed in his reply brief: how a

  letter involving analysis of his claims can be protected from discovery because it contains

  personal information of non-parties; and whether the letter includes witnesses with

  knowledge relevant to material issues in the lawsuit. [Dkt. 60, p. 6].

         The failure to comply with the meet and confer requirement also places Defendant

  at a disadvantage. Defendant represents that after Plaintiff’s motion was filed, it

  reviewed the withheld and redacted documents and produced additional documents

  which could arguably be considered part of its factual investigation of Plaintiff’s claim.

  [Dkt. 56, p. 3]. Defendant filed its response to Plaintiff’s motion without knowing

  whether Plaintiff’s objections would remain following the additional production.

  Plaintiff’s reply brief centered on the remaining withheld documents and redactions. As

  a result, Defendant has not had an opportunity to specifically address Plaintiff’s

  remaining objections.

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         Plaintiff’s Motion to Compel, [Dkt. 55] is DENIED. Counsel have not personally met

  and conferred in good faith in a sincere attempt to resolve their differences over discovery

  of the remaining items on Defendant’s privilege log as required by Fed. R. Civ. P. 37(a)(1)

  and LCvR 37.1.      If issues remain following compliance with the meet and confer

  requirements, Plaintiff may submit a motion addressing the specific items that remain

  outstanding.

         SO ORDERED this 14th day of May, 2012.




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